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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

TEDDRICK BAILEY,          §                              Civil Action No. _____________
Individually and on behalf of all others
                          §
similarly situated        §
                          §                              JURY TRIAL DEMANDED
    Plaintiff,            §
                          §
v.                        §                              COLLECTIVE ACTION
                          §                              PURSUANT TO 29 U.S.C. §216(b)
UNIVERSAL CABLE           §
HOLDINGS, INC. d/b/a      §
SUDDENLINK COMMUNICATIONS §                              CLASS ACTION PURSUANT
                          §                              TO FED. R. CIV. P. 23(b)(3)
    Defendant.            §

                  ORIGINAL COLLECTIVE / CLASS ACTION COMPLAINT

         Plaintiff Teddrick Bailey (“Plaintiff” or “Bailey”) brings this action individually and on behalf

of all current and former non-exempt, hourly call-center employees (hereinafter “Plaintiff and the

Putative Class Members”) who worked for Universal Cable Holdings, Inc. d/b/a Suddenlink

Communications (hereinafter “Defendant” or “Suddenlink”), anywhere in the United States, at any

time during the relevant statutes of limitation through the final disposition of this matter, to recover

compensation, liquidated damages, and attorneys’ fees and costs pursuant to the provisions of Sections

207 and 216(b) of the Fair Labor Standards Act of 1938, as amended 29 U.S.C. § 216(b), and Texas

common law.

         Plaintiff’s FLSA claims are asserted as a collective action under Section 16(b) of the FLSA, 29

U.S.C. § 216(b), while the Texas common law claim is asserted as a class action under Federal Rule of

Civil Procedure 23.




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                                                I.
                                             OVERVIEW

         1.       This lawsuit includes a collective action pursuant to the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. §§201–19, and a class action pursuant to the state laws of Texas to recover unpaid

wages, overtime wages, and other applicable penalties.

         2.       Plaintiff and the Putative Class Members are those similarly situated persons who have

worked for Suddenlink, anywhere in the United States within the relevant statutes of limitations

through the final disposition of this matter, and have not been paid for all hours worked nor the

correct amount of overtime in violation of the FLSA and state law.

         3.       Specifically, Suddenlink has enforced a uniform company-wide policy wherein it

improperly required its non-exempt, hourly call-center employees—Plaintiff and the Putative Class

Members—to perform work “off-the-clock” and without pay.

         4.       Suddenlink’s illegal company-wide policy has caused Plaintiff and the Putative Class

Members to have hours worked that were not compensated and further created a miscalculation of

their regular rate(s) of pay for purposes of calculating their overtime compensation each workweek.

         5.       Although Plaintiff and the Putative Class Members routinely worked in excess of forty

(40) hours per workweek, Plaintiff and the Putative Class Members have not been paid overtime of at

least one and one-half their regular rates for all hours worked in excess of forty (40) hours per

workweek.

         6.       Suddenlink has knowingly and deliberately failed to compensate Plaintiff and the

Putative Class Members for all hours worked each workweek and the proper amount of overtime on

a routine and regular basis during the relevant statutes of limitation.

         7.       Plaintiff and the Putative Class Members did not (and currently do not) perform work

that meets the definition of exempt work under the FLSA, or Texas state law.



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         8.         Plaintiff and the Putative Class Members seek to recover all unpaid overtime,

liquidated damages, and other damages owed under the FLSA as a collective action pursuant to 29

U.S.C. § 216(b), and to recover all damages owed under the Texas state-law claim as a class action

pursuant to Federal Rule of Civil Procedure 23.

         9.         Plaintiff prays that all similarly situated workers (FLSA Collective Members) be

notified of the pendency of this action to apprise them of their rights and provide them an opportunity

to opt-in to this lawsuit.

         10.        Plaintiff also prays that the Rule 23 Texas class be certified as defined herein, and that

Plaintiff Bailey designated herein be named as Class Representative for the Texas Common-Law Class.

                                                     II.
                                                THE PARTIES

         11.        Plaintiff Teddrick Bailey (“Bailey”) was employed by Suddenlink in Texas during the

relevant time periods. Plaintiff Bailey did not receive compensation for all hours worked or the correct

amount of overtime compensation for all hours worked in excess of forty (40) hours per workweek.1

         12.        The FLSA Collective Members are those current and former non-exempt, hourly call-

center employees who were employed by Suddenlink anywhere in the United States at any time during

the last three years through the final disposition of this matter, and have been subjected to the same

illegal pay system under which Plaintiff Bailey worked and was paid.

         13.        The Texas Common-Law Class Members are those current and former non-exempt,

hourly call-center employees who were employed by Suddenlink in the State of Texas at any time

during the last four years through the final disposition of this matter, and have been subjected to the

same illegal pay system under which Plaintiff Bailey worked and was paid.



         1    The written consent of Teddrick Bailey is hereby attached as Exhibit “A.”




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         14.      Defendant Universal Cable Holdings, Inc. d/b/a Suddenlink Communications

(“Suddenlink”) is a Foreign For-Profit Corporation, licensed to and doing business in Texas, and can

be served with process through its registered agent: Corporation Service Company d/b/a CSC-

Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620, Austin, TX 78701-3218.

                                                  III.
                                         JURISDICTION & VENUE

         15.      This Court has federal question jurisdiction over the FLSA claims pursuant to 28

U.S.C. § 1331 as this is an action arising under 29 U.S.C. § 201–19.

         16.      This Court has supplemental jurisdiction over the additional Texas state-law claims

pursuant to 28 U.S.C. § 1367.

         17.      This Court has personal jurisdiction over Suddenlink because the cause of action arose

in and around this District as a result of Suddenlink’s conduct within this District and Division.

         18.      Venue is proper in the Eastern District of Texas because this is a judicial district where

a substantial part of the events or omissions giving rise to the claim occurred.

         19.      Specifically, Suddenlink has maintained a working presence throughout the State of

Texas (and the United States), and Plaintiff Bailey worked in East Texas throughout his employment

with Suddenlink, all of which are located within this District and Division.

         20.      Venue is therefore proper in this District pursuant to 28 U.S.C. § 1391(b).

                                                    IV.
                                             ADDITIONAL FACTS

         21.      Suddenlink operates throughout the United States and holds itself out as providing,

“digital cable television, high-speed internet, voice services, and home security/automation systems




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that support the information, communication and entertainment demands of its residential

customers.”2

         22.       To provide its services, Suddenlink employed (and continues to employ) numerous

non-exempt, hourly call-center employees–Plaintiff and the Putative Class Members–who provide

customer support and sales services to its millions of customers.

         23.       Plaintiff and the Putative Class Members’ job duties consisted of receiving telephone

calls from Suddenlink’s clients’ customers and assisting those customers.

         24.       Plaintiff Bailey was employed by Suddenlink in Tyler, Texas from approximately

February 2017 until June 2019.

         25.       Plaintiff and the Putative Class Members are all non-exempt call center employees who

were (and are) paid by the hour.

         26.       Plaintiff and the Putative Class Members worked approximately forty (40) “on-the-

clock” hours per week.

         27.       In addition to their forty (40) “on-the-clock” hours, Plaintiff and the Putative Class

Members were often worked up to three hours “off-the-clock” per week and have not been

compensated for that time.

         28.       Plaintiff and the Putative Class Members have not been compensated for all the hours

they worked for Suddenlink as a result of Suddenlink’s uniform corporate policy and practice of paying

its employees only during regularly scheduled shift time, and only when their computers were fully

booted up and operational.

         29.       Specifically, Plaintiff and the Putative Class Members are required to start up and log

into their computers before their shift officially starts, and then log in to each Suddenlink program,




         2   https://www.suddenlink.com/our-company/areas-we-serve


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and ensure that each Suddenlink program is running correctly—all of which can take up to twenty

minutes—before they are able to take their first phone call, which comes in as soon as their computers

are fully operational.

         30.        In addition, Plaintiff and the Putative Class Members were required to arrive at work

early, well in advance of their scheduled shifts, in order to perform work for Suddenlink.

         31.        Plaintiff and the Putative Class Members were not compensated for work they

performed for Suddenlink prior to their scheduled shifts, including their computer start-up time,

although they were expected to have completed their computer start up in advance of their official

start time.

         32.        As a result of Suddenlink’s corporate policies and practices of requiring Plaintiff and

Putative Class Members to perform compensable work for Suddenlink, including their start-up time

while off the clock, Plaintiff and the Putative Class Members were not compensated for all hours

worked, including all worked in excess of forty (40) in a workweek at the rates required by the FLSA.

         33.        Suddenlink has employed other individuals who perform(ed) the same or similar job

duties under the same pay provisions as Plaintiff Bailey.

         34.        Suddenlink is aware of its obligation to pay overtime for all hours worked and the

proper amount of overtime for all hours worked in excess of forty (40) each week to Plaintiff and the

Putative Class Members, but as has failed to do so.

         35.        Indeed, Suddenlink faced an identical lawsuit no less than three years ago and has yet

to change their policies and practices.3




         3   Ellis, et al. v. Universal Cable Holdings, Inc., et al., C.A. No. 2:16-cv-01289-JRG (E.D. Tex., Marshall
Division).
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         36.      Because Suddenlink did not pay Plaintiff and the Putative Class Members time and a

half for all hours worked in excess of forty (40) in a workweek, Suddenlink’s pay policies and practices

willfully violate the FLSA.

         37.      Because Suddenlink did not pay Plaintiff and the Putative Class Members for all hours

they worked, Suddenlink’s pay policies and practices also violate Texas state law.

                                                    V.
                                             CAUSES OF ACTION

                                             COUNT ONE
                              (Collective Action Alleging FLSA Violations)

A.       FLSA COVERAGE

         38.      All previous paragraphs are incorporated as though fully set forth herein.

         39.      The FLSA Collective is defined as:

         ALL HOURLY CALL-CENTER EMPLOYEES WHO WERE EMPLOYED
         BY SUDDENLINK COMMUNICATIONS, ANYWHERE IN THE
         UNITED STATES, AT ANY TIME FROM FEBRUARY 12, 2017 THROUGH
         THE FINAL DISPOSITION OF THIS MATTER. (“FLSA Collective” or
         “FLSA Collective Members”).

         40.      At all times hereinafter mentioned, Suddenlink has been an employer within the

meaning of Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

         41.      At all times hereinafter mentioned, Suddenlink has been an enterprise within the

meaning of Section 3(r) of the FLSA, 29 U.S.C. § 203(r).

         42.      At all times hereinafter mentioned, Suddenlink has been an enterprise engaged in

commerce or in the production of goods for commerce within the meaning of Section 3(s)(1) of the

FLSA, 29 U.S.C. § 203(s)(1), in that said enterprise has had employees engaged in commerce or in the

production of goods for commerce, or employees handling, selling, or otherwise working on goods

or materials that have been moved in or produced for commerce by any person, or in any closely

related process or occupation directly essential to the production thereof, and in that those enterprises



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have had, and have, an annual gross volume of sales made or business done of not less than

$500,000.00 (exclusive of excise taxes at the retail level which are separately stated).

          43.     During the respective periods of Plaintiff and the FLSA Collective Members’

employment by Suddenlink, these individuals provided services for Suddenlink that involved interstate

commerce for purposes of the FLSA.

          44.     In performing the operations hereinabove described, Plaintiff and the FLSA Collective

Members were engaged in commerce or in the production of goods for commerce within the meaning

of §§ 203(b), 203(i), 203(j), 206(a), and 207(a) of the FLSA. 29 U.S.C. §§ 203(b), 203(i), 203(j), 206(a),

207(a).

          45.     Specifically, Plaintiff and the FLSA Collective Members are (or were) non-exempt

employees of Suddenlink who assisted Suddenlink’s customers throughout the United States. 29

U.S.C. §203(j).

          46.     At all times hereinafter mentioned, Plaintiff and the FLSA Collective Members are (or

were) individual employees who were engaged in commerce or in the production of goods for

commerce as required by 29 U.S.C. §§ 206–07.

          47.     In violating the FLSA, Suddenlink acted willfully, without a good faith basis and with

reckless disregard of applicable federal law.

          48.     The proposed collective of similarly situated employees, i.e. putative collective

members sought to be certified pursuant to 29 U.S.C. § 216(b), is defined in Paragraph 39.

          49.     The precise size and identity of the proposed class should be ascertainable from the

business records, tax records, and/or employee or personnel records of Suddenlink.

B.        FAILURE TO PAY WAGES AND OVERTIME UNDER THE FLSA

          50.     All previous paragraphs are incorporated as though fully set forth herein.




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         51.      Suddenlink has violated provisions of Sections 7 and 15 of the FLSA, 29 U.S.C. §§ 207,

and 215(a)(2) by employing individuals in an enterprise engaged in commerce or in the production of

goods for commerce within the meaning of the FLSA for workweeks longer than forty (40) hours

without compensating such employees for hours worked in excess of forty (40) per workweek at rates

at least one and one-half times the regular rates for which they were employed.

         52.      Moreover, Suddenlink knowingly, willfully, and with reckless disregard carried out its

illegal pattern of failing to pay Plaintiff and other similarly situated employees the proper amount of

overtime compensation for all hours worked over forty each week. 29 U.S.C. § 255(a).

         53.      Suddenlink knew or should have known their pay practices were in violation of the

FLSA.

         54.      Suddenlink is a sophisticated party and employer, and therefore knew (or should have

known) their pay policies were in violation of the FLSA.

         55.      Plaintiff and the FLSA Collective Members, on the other hand, are (and were)

unsophisticated employees who trusted Suddenlink to pay them according to the law.

         56.      The decisions and practices by Suddenlink to not pay for all hours worked and the

proper amount of overtime for all hours worked over forty each week was neither reasonable nor in

good faith.

         57.      Accordingly, Plaintiff and the FLSA Collective Members are entitled to be paid

overtime wages for all hours worked in excess of forty (40) hours per workweek pursuant to the FLSA

in an amount equal to one-and-a-half times their regular rate of pay, plus liquidated damages, attorneys’

fees and costs.

C.       FLSA COLLECTIVE ACTION ALLEGATIONS

         58.      All previous paragraphs are incorporated as though fully set forth herein.




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         59.      Pursuant to 29 U.S.C. § 216(b), this is a collective action filed on behalf of all

Suddenlink’s employees throughout the United States who have been similarly situated to Plaintiff

with regard to the work they performed and the manner in which they were paid.

         60.      Other similarly situated employees of Suddenlink have been victimized by

Suddenlink’s patterns, practices, and policies, which are in willful violation of the FLSA.

         61.      The FLSA Collective Members are defined in Paragraph 39.

         62.      Suddenlink’s failure to pay Plaintiff and the FLSA Collective Members for all hours

worked and overtime compensation at the rates required by the FLSA, results from generally

applicable policies and practices of Suddenlink, and does not depend on the personal circumstances

of Plaintiff or the FLSA Collective Members.

         63.      Thus, Plaintiff’s experiences are typical of the experiences of the FLSA Collective

Members.

         64.      The Specific job titles or precise job requirements of the various FLSA Collective

Members do not prevent collective treatment.

         65.      All of the FLSA Collective Members—regardless if their specific job titles, precise job

requirements, rates of pay, or job locations—are entitled to be paid for all hours worked and at the

proper overtime rate for all hours worked in excess of forty (40) hours per workweek.

         66.      Although the issues of damages may be individual in character, there is no detraction

from the common nucleus of liability facts.

         67.      Absent a collective action, many members of the proposed FLSA collective likely will

not obtain redress of their injuries and Suddenlink will retain the proceeds of its violations.

         68.      Moreover, individual litigation would be unduly burdensome to the judicial system.

Concentrating the litigation in one forum will promote judicial economy and parity among the claims

of the individual members of the classes and provide for judicial consistency.

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         69.      Accordingly, the FLSA collective of similarly situated plaintiffs should be certified as

defined as in Paragraph 39 and should be sent promptly.

                                           COUNT TWO
                      (Class Action Alleging Violations of Texas Common Law)

A.       VIOLATIONS OF TEXAS COMMON LAW

         70.      All previous paragraphs are incorporated as though fully set forth herein.

         71.      Plaintiff Bailey further brings this action pursuant to the equitable theory of quantum

meruit. See Artemis Seafood, Inc. v. Butcher’s Choice, Inc. No. CIV. A. 3:98-0282, 1999 WL 608853, at *3

(N.D. Tex. Aug. 11, 1999) (citing Schuchart & Assocs. V. Solo Serve Corp., 1983 WL 1147, at *23 (W.D.

Tex. June 29, 1983)).

         72.      The Texas Class is defined as:

         ALL HOURLY CALL-CENTER EMPLOYEES WHO WERE EMPLOYED
         BY SUDDENLINK COMMUNICATIONS, IN THE STATE OF TEXAS, AT
         ANY TIME FROM FEBRUARY 12, 2016 THROUGH THE FINAL
         DISPOSITION OF THIS MATTER. (“Texas Common-Law Class” or “Texas
         Common-Law Class Members”).

         73.      The Texas Common-Law Class Members are entitled to recover their unpaid “straight

time” or “gap time” wages for services rendered on behalf of Suddenlink. These claims are

independent of Plaintiff’s claims for unpaid overtime wages pursuant to the FLSA, and they are

therefore not preempted by the FLSA. See Carman v. Meritage Homes Corp., 37 F. Supp. 3d 860, 867

(S.D. Tex. 2014).

         74.      The Texas Common-Law Class Members provided valuable services for Suddenlink,

at Suddenlink’s direction and with Suddenlink’s acquiescence.

         75.      Suddenlink accepted the Texas Common-Law Class Members’ services and benefited

from their timely dedication to Suddenlink’s policies and adherence to Suddenlink’s schedule.

         76.      Suddenlink was aware that Plaintiff Bailey and the Texas Common-Law Class

Members expected to be compensated for the services they provided Suddenlink.

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          77.     Suddenlink has therefore benefited from services rendered by Plaintiff and the Texas

Common-Law Class Members are entitled to recover pursuant to the equitable theory of quantum

meruit.

B.        TEXAS COMMON-LAW CLASS ALLEGATIONS

          78.     Plaintiff Bailey brings his Texas Common-Law Claims as a class action pursuant to

Federal Rule of Civil Procedure 23 on behalf of all similarly situated individuals employed by

Suddenlink to work in Texas since February 12, 2016. See TEX. CIV. PRAC. & REM. CODE ANN. §

16.004.

          79.     Class action treatment of the Texas Common Law Class Members is appropriate

because, as alleged below, all of the Federal Rule of Civil Procedure 23’s class action requisites are

satisfied.

          80.     The number of Texas Common-Law Class Members is so numerous that joinder of

all class members is impracticable.

          81.     Plaintiff Bailey is a member of the Texas Common-Law Class, his claims are typical of

the claims of the other Texas Common-Law Class Members, and he has no interests that are

antagonistic to or in conflict with the interests of the other Texas Common-Law Class Members.

          82.     Plaintiff Bailey and his counsel will fairly and adequately represent the Texas Common

Law Class Members and their interests.

          83.     Class certification is appropriate under the Federal Rule of Civil Procedure 23(b)(3)

because common questions of law and fact predominate over questions affecting only individual class

members and because a class action is superior to other available methods for the fair and efficient

adjudication of this litigation.

          84.     Accordingly, the Texas Common Law Class should be certified as defined in Paragraph

72.

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                                                   VI.
                                             RELIEF SOUGHT

         85.      Plaintiff respectfully prays for judgment against Suddenlink as follows:

                  a.       For an Order certifying the FLSA Collective as defined in Paragraph 39 and

requiring Suddenlink to provide names, addresses, e-mail addresses, telephone number, and social

security numbers of all putative Collective Action Members.

                  b.       For an Order approving the form and content of notice to be sent to all

putative FLSA Collective Members advising them of the pendency of this litigation and their rights

with respect thereto;

                  c.       For an Order pursuant to section 16(b) of the FLSA finding Suddenlink liable

for unpaid wages due to Plaintiff (and those FLSA Collective Members who have joined in the suit),

civil penalties, and for liquidated damages equal in the amount to the unpaid compensation found due

to Plaintiff (and those FLSA Collective Members who have joined in the suit);

                  d.       For an Order certifying the Texas Common-Law Class as defined in Paragraph

72 and designating Plaintiff Bailey as the Class Representative of the Texas Common-Law Class;

                  e.       For an Order pursuant to Texas Common-Law awarding Plaintiff Bailey and

the Texas Common-Law Class Members unpaid wages and other damages allowed by law;

                  f.       For an Order awarding the costs and expenses of this action;

                  g.       For an Order awarding attorneys’ fees;

                  h.       For an Order awarding pre-judgment and post-judgment interest at the highest

rates allowed by law;

                  i.       For an Order awarding Plaintiff Bailey a service award as permitted by law;

                  j.       For an Order compelling the accounting of the books and records of

Suddenlink, at Suddenlink’s expenses; and




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                  k.       For an Order Granting such other and further relief as may be necessary and

appropriate.


Dated: February 12, 2020                           Respectfully submitted,

                                                   ANDERSON ALEXANDER, PLLC

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                                                   Attorneys for Plaintiff and the Putative Class
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